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                    Exhibit E
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     Seizure Number      Purchase Date   Vendor              Date Analyzed     Net Weight (g)   Drug Detected
1    20123901-00022501   1/8/2012        JUERGEN2001         2/15/2012         0.98             MDMA
2    20123901-10252601   1/8/2012        CHEMICAL BROTHERS   2/17/2012         1                MDMA
3    20123901-00022401   1/8/2012        JUERGEN2001         3/1/2012          0.85             Amphetamine
4    20123901-10261601   1/8/2012        AMSTERDAMGOODS      2/15/2012         1                MDMA
5    20123901-00023701   1/8/2012        SESAMPINO           2/15/2012         0.97             MDMA
6    20123901-00025901   1/8/2012        MDMATE              2/15/2012         1                MDMA
7    20123901-00025601   1/8/2012        NAMASTE             2/16/2012         0.31             MDMA
8    20123901-00024401   1/8/2012        STREET PHARMACY     2/21/2012         2.6              MDMA
9    20123901-00023701   1/8/2012        SESAMPINO           2/28/2012         1.1              Cocaine Hydrochloride
10   20123901-00023301   1/8/2012        MROUID              3/1/2012          11.1             Meth Hydrochloride
11   20123901-10263901   1/8/2012        SUNSHINE            3/6/2012          0.1              2C-B
12   20123901-00023801   1/8/2012        PEACE AND LOVE      3/6/2012          0.13             Oxycodone
13   20123901-00026501   1/8/2012        WALTER              3/6/2012          0.19             DMT
14   20123901-00024501   1/8/2012        HASHUK              3/13/2012         1                Marijuana
15   20123901-00023401   1/8/2012        ALTEREGO            3/16/2012         19.2             Morphine, Codine, Thebaine
16   20123901-00023501   1/8/2012        CRIPLED CRANIUM     3/16/2012         0.011            LSD
17   20123901-00025801   1/8/2012        YESHUA              3/21/2012         1.2              Bufotenine
18   20123901-10390601   3/1/2012        DUTCHAANBOD         4/10/2012         0.61             Cocaine Hydrochloride
19   20123901-00037201   3/1/2012        IVORY               5/4/2012          0.24             2C-B/MDMA
20   20123901-10390801   3/1/2012        NORIEGA             5/7/2012          0.49             Heroin Hydrochloride
21   20123901-10390701   3/1/2012        MADE IN HOLLAND     5/11/2012         0.35             MDMA
22   20123901-10390901   3/1/2012        DRJOHNHALPERN       5/11/2012         0.27             MDMA
23   20123901-00037601   3/1/2012        SKYY                5/14/2012         1.3              MDMA/MDDMA
24   20123901-00037901   3/1/2012        DOPEYDWARF          5/14/2012         0.24             MDMA
25   20123901-00038001   3/1/2012        DAGOBERT            5/14/2012         0.28             MDMA
26   20123901-00038101   3/1/2012        MITANOX             5/14/2012         1                MDMA
27   20123901-00039301   3/1/2012        BLAATZ0R            5/4/2012          0.93             Amphetamine
28   20123901-00039401   3/1/2012        MISTERSAFE          5/14/2012         1.7              MDMA
29   20123901-00042101   3/1/2012        MRNICE1             5/14/2012         0.1              Heroin
30   20123901-00042201   3/1/2012        GOOGLEYED           6/1/2012          16               (No Controlled Substance)
31   20123901-00055901   5/18/2012       KITTYCAT            7/24/2012         0.34             MDMA
32   20123901-00056101   5/29/2012       DUTCHQUALITYBEANS   7/24/2012         2                MDMA
33   20123901-00056201   5/18/2012       MAGICALBONNY        7/24/2012         0.63             MDMA
34   20123901-00056401   5/18/2012       CLOUDSURFER         7/24/2012         1                MDMA
35   20123901-00056501   5/18/2012       SCHIZOFREEN         7/25/2012         0.3              MDMA
36   20123901-00056501   5/18/2012       SCHIZOFREEN         7/25/2012         0.93             MDMA
37   20123901-00056301   5/18/2012       AMSTERDOPE          8/22/2012         0.97             Amphetamine
38   20123901-00062001   5/18/2012       ABZU                7/25/2012         1                MDMA
39   2013390100044601    3/6/2013        BEST DUTCH DRUGS    4/26/2013         1.1              MDMA
40   2013390100044701    3/6/2013        EMONKEY             4/26/2013         1.2              MDMA
41   2013390100045401    3/6/2013        CHEMICALSISTERS     4/26/2013         0.47             MDMA
42   2013390100045101    3/6/2013        UGLYDOLL            5/17/2013         0.21             Heroin/MDMA
43   2013390100044201    3/6/2013        HAPPYTIMEZZ         5/23/2013         0.44             Cocaine Base
44   2013390100044401    3/6/2013        CHARLIEANDMOLLIE    5/23/2013         0.49             Cocaine Hydrochloride
45   2013390100044501    3/6/2013        ABZU                7/18/2013         1                Amphetamine
46   2013390100045201    3/7/2013        THE DUTCH GUY       7/18/2013         0.089            DMT
47   2013390100044301    3/6/2013        FREDTHEBAKER        8/1/2013          0.014            LSD
48   2013390100045301    3/6/2013        AAKOVEN             8/1/2013          0.032            LSD
49   2013390100048201    3/6/2013        NEVITA              7/31/2013         1                25i-NBOMe
50   2013390100049301    3/6/2013        MERCURY 31          4/26/2013         2.1              MDMA
51   2013390100049401    3/6/2013        DUTCHFLOWERS        4/29/2013         1.3              MDMA
52   2013390100061401    4/11/2013       AMSTERDOPE          8/1/2013          0.1              5-MeO-DMT
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                                               UndercoverPurchasesfromSilkRoadMadeby
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                                                        DEANewYorkFieldOffice
                         PurchaseDate   Vendor         DrugOrdered     DeliveryDate   LabTestDate   NetWeight(g)   DrugDetected
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                         9/22/2011       ITALIANPILOT   heroin           10/4/2011       10/11/2011      0.21g           heroin
                         1/3/2012        PAPERCHASING   heroin           1/12/2012       1/19/2012       0.39g           heroin
                         2/10/2012       PHARMVILLE     oxycodone        2/15/2012       5/10/2012       5.7g            oxycodone
                         3/6/2012        PHARMVILLE     oxycodone        3/11/2012       6/21/2012       26.3g           oxycodone
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                         3/6/2012        PHARMERJOHN    heroin           3/9/2012        6/21/2012       2.9g            heroin
                         5/4/2012        HYPERCITY      amphetamine      5/11/2012       8/31/2012       0.46g           amphetamine
                                                        crackcocaine
                         5/31/2012       KALONJI                         6/8/2012        12/3/2012       5.3g            cocainebase
                                                        (cocainebase)
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                         6/18/2012       VICODIN        oxycodone        6/28/2012       1/24/2013       0.54g           oxycodone
                         8/16/2012       VICODIN        oxycodone        8/21/2012       3/11/2013       2.7g            oxycodone
                         9/14/2012       MOXYCOTTON     oxycodone        9/26/2012       4/4/2013        2.3g            oxycodone
                         9/14/2012       DEADHEAD777    heroin           9/26/2012       3/29/2013       0.52g           heroin
                         10/19/2012      MOXYCOTTON     oxycodone        10/25/2012      4/10/2013       2.3g            oxycodone
                         5/14/2013       NOD            cocaine          5/21/2013       8/29/2013       7.0g            cocaine
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